
It appears from the record that the court of appeals found from the evidence that the plaintiff has in no manner or degree suffered any injury, damage or impairment of its rights by anything the city of Akron has done or intends to do; that in the necessary and proper operation of the waterworks system of said city of Akron, in supplying *487itself and its inhabitants with water from said stream, no actual or substantial injury, loss or damage is likely to occur to the plaintiff; that the water impounded by the city of Akron in wet seasons does not deprive the plaintiff in error of sufficient water to operate its mill to its fullest capacity, and the water so impounded by the city of Akron, so far as plaintiff is concerned, would go to waste and be unused by it; that the water stored in the wet season and drawn by the city from its reservoir and discharged into the. river above the plaintiff’s mill will materially increase the natural flow of said stream in dry seasons, to the benefit of the plaintiff in error and not to its prejudice.
And it appearing from these findings of fact that the plaintiff in error has not been deprived of any property, either with or without due process of law, and that it has not in any manner or degree suffered any injury, damage or impairment of its rights by anything the defendant in error has done or intends to do, therefore the record in this case presents no constitutional question arising under the constitution of this state or the constitution of the United States, for the consideration of this court, and, there being no constitutional question involved in this case, this court is without jurisdiction in the premises.

Cause dismissed for want of jurisdiction.

Nichols, C. J., Johnson, Donahue, Wanamaker, Newman, Jones and Matthias, JJ., concur.
